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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION



FEDERAL TRADE COMMISSION,

               Plaintiff,                         Case No.: 4:23-CV-03560-KH

          v.

U.S. ANESTHESIA PARTNERS, INC., et al.,

               Defendants.




                   Plaintiff Federal Trade Commission’s Opposition to
                  USAP’s Motion for Stay Pending Interlocutory Appeal
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       USAP seeks to stall this case while it tries to appeal two arguments this Court rejected:

(1) that the FTC Act requires the Commission to file a parallel complaint in its administrative

process when it sues in federal district court, and (2) that the Commissioners’ protections from

removal render some portion of the FTC Act unconstitutional. Neither was a close question. The

Court explained that “every court to consider” USAP’s parallel proceeding claim “has

disagreed . . . including three circuit courts” as well as recent dicta from the Supreme Court. ECF

No. 146 (the “Order”) 16. And it noted that USAP’s constitutional claim—which USAP did not

even brief but instead “incorporated [from] Welsh Carson[] . . . with no elaboration”—has been

foreclosed by precedent for “[a]lmost 90 years.” Id. 21 & n.5.

       Rather than seek this Court’s permission for an interlocutory appeal under 28 U.S.C.

§ 1292(b), USAP unilaterally deemed the Order an “immediately appealable collateral order”

and noticed an appeal. ECF No. 153. And rather than ask this Court to stay the case, USAP filed

the instant motion to “confirm” that an “automatic stay” is in effect due to its attempt to appeal.

ECF No. 155 (“Mot.”) 1. USAP’s reference to an “automatic stay” is a misnomer: there is no

statute or rule that gives rise to a stay here. USAP’s true claim is that this Court has been

divested of jurisdiction by USAP’s notice of appeal and now lacks authority to continue

proceedings. See id.

       The problems with USAP’s so-called “automatic stay” are twofold. First, a notice of

appeal from an unappealable order does not divest the district court’s jurisdiction. And contrary

to USAP’s claim, the Order is not appealable under the collateral order doctrine. As a result,

there is no “automatic stay.” Second, even if USAP had a right to a collateral appeal, it would

only divest the Court of jurisdiction over those parts of the case on appeal. This Court would

retain jurisdiction to proceed with discovery while the Court of Appeals resolved USAP’s




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discrete challenges to aspects of the FTC’s authority (both of which are curable).1 In all events,

the Court should confirm that USAP’s improper and longshot appeal does not stay discovery.

I.       The notice of appeal does not stay this case because the Order is not appealable

         USAP contends that its notice of appeal “automatically stays proceedings in this Court”

because it divests this Court of jurisdiction over the case. Mot. 1-2. Unlike every “automatic

stay” case USAP cites, however, 2 USAP is attempting to appeal an order that is not actually

appealable. The Fifth Circuit has long held that “an appeal from an unappealable order does not

divest a district court of subject matter jurisdiction.” Rutherford v. Harris County, Tex., 197 F.3d

173, 190 n.17 (5th Cir. 1999) (citing United States v. Hitchmon, 602 F.2d 689, 690-91 (5th Cir.

1979) (en banc)). A “contrary rule would leave [the] district court powerless to prevent

intentional dilatory tactics.” Battie v. Davis, No. 3:17-CV-1191-D, 2018 WL 4773258, at *1 n.1

(N.D. Tex. Oct. 3, 2018) (citing Hitchmon, 602 F.2d at 694).

         USAP erroneously claims that the Order is “immediately appealable under the collateral

order doctrine.” Mot. 1. The collateral order doctrine “entitles a party to appeal . . . from a

narrow class of decisions that do not terminate the litigation.” Digit. Equip. Corp. v. Desktop

Direct, Inc., 511 U.S. 863, 867 (1994). To be immediately appealable under the collateral order

doctrine, a district court’s order must meet all the following requirements: it must (1)

“conclusively determine the disputed question”; (2) “resolve an important issue completely

separate from the merits of the action”; and (3) “be effectively unreviewable on appeal from final

judgment.” Gulfstream Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271, 276 (1988)

(citation omitted). “As an additional requirement . . . a collateral appeal of an interlocutory order


1 The Court should not consider a discretionary stay as USAP did not argue one is appropriate here. Mot. 2. In any

event, USAP cannot meet the factors in Landis v. North Am. Co., 299 U.S. 248 (1936).
2 For instance, USAP relies extensively on Coinbase, Inc. v. Bielski, 599 U.S. 736 (2023). That case involved the

denial of a motion to compel arbitration, for which the Federal Arbitration Act provides an immediate appeal. See 9
U.S.C. § 16(a). USAP relies on no such statutory right here.



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must present a ‘serious and unsettled question.’” Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982)

(quoting Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 547 (1949)); see also In re

Deepwater Horizon, 793 F.3d 479, 490 (5th Cir. 2015). Here, USAP fails to meet two of these

requirements: the issues it seeks to appeal are neither unsettled nor effectively unreviewable.

         A.       USAP’s appeal does not raise a serious and unsettled question of law

         “[O]nly serious and unsettled questions of law come within the collateral order doctrine.”

Deepwater Horizon, 793 F.3d at 490 (citing Nixon, 475 U.S. at 742).3 The issues USAP seeks to

appeal, however, are well settled—as this Court already observed—and thus cannot qualify for

collateral order review.

         First, every court to consider the issue has rejected USAP’s argument that Section 13(b)

of the FTC Act requires the Commission to institute a parallel administrative proceeding when it

seeks a permanent injunction in federal court. See Order 16-17. The Supreme Court recently

endorsed this conclusion in AMG Capital Management, LLC v. FTC, 593 U.S. 67 (2021). See

Order 17-18 (“AMG is only three years old, and the Court repeated the point twice.”).

         Second, the Supreme Court and the Fifth Circuit have expressly rejected USAP’s

argument that the Commissioners’ protections from removal render some portion of the FTC Act

unconstitutional. Indeed, the Fifth Circuit has rejected this argument twice in the last seven

months. See Illumina, Inc. v. FTC, 88 F.4th 1036, 1047 (5th Cir. 2023); Consumers’ Rsch. v.

Consumer Prod. Safety Comm’n, 91 F.4th 342, 352 n.51 (5th Cir. 2024) (confirming Illumina’s

holding), rehr’g en banc denied, 98 F.4th 646; see also Order 21 (“The Court need not spend




3 Although some courts and commentators have cast doubt on whether “serious and unsettled” is a separate

requirement, the Fifth Circuit continues to treat it as one. See, e.g., Foret v. Waste Connections Bayou, Inc., 844 F.
App’x 776, 777 (5th Cir. 2021).



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many words on the constitutional argument.”). Appealing the same issue to the same court for

the third time would not answer any outstanding legal question. 4

         B.       The Order is not effectively unreviewable on appeal from a final judgment

         USAP’s notice of appeal separately fails to satisfy the collateral order doctrine because

the Order is not “effectively unreviewable on appeal from a final judgment.” Leonard v. Martin,

38 F.4th 481, 486 (5th Cir. 2022). As the Supreme Court has explained, the “general rule” is that

“a party is entitled to a single appeal, to be deferred until final judgment has been entered, in

which claims of district court error at any stage of the litigation may be ventilated.” Digit. Equip.

Corp., 511 U.S. at 868. Courts “routinely require litigants to wait until after final judgment to

vindicate valuable rights.” Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 108-09 (2009). And

the mere fact “[t]hat a ruling may burden litigants in ways that are only imperfectly reparable by

appellate reversal of a final district court judgment” does not justify a collateral appeal. Id. at

107 (cleaned up). An order is only “effectively unreviewable on appeal from the final judgment”

if waiting to appeal “would imperil a substantial public interest or some particular value of a high

order.” Id.; see also Leonard, 38 F.4th at 486. This inquiry is not focused on the specifics of this

appeal: the court must consider “the entire category to which a claim belongs” and ask whether

that “class of claims, taken as a whole, can be adequately vindicated by other means.” Mohawk,

558 U.S. at 107.

         USAP wrongly categorizes its claim as a “right not to undergo” further district court

proceedings—i.e., a “right not to be tried.” Mot. 1. The Supreme Court, however, has cautioned

courts “to view claims of a ‘right not to be tried’ with skepticism, if not a jaundiced eye.” Digit.

Equip. Corp., 511 U.S. at 873. “[V]irtually every right that could be enforced appropriately by



4 Further, because USAP (through Welsh Carson) forfeited multiple critical issues in its briefing before this Court, it

could not prevail on appeal even if its underlying legal theory had not been repeatedly rejected. See Part II.



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pretrial dismissal could loosely be described as conferring a ‘right not to stand trial.’” Id. But

applying the collateral order doctrine to “any order denying a claim of right to prevail without

trial”—as USAP attempts here—would “leave the final order requirement of § 1291 in tatters.”

Will v. Hallock, 546 U.S. 345, 351 (2006).

         Courts have thus permitted collateral appeals based on a “right not to be tried” only in

certain narrow categories where there is a “statutory or constitutional guarantee that trial will not

occur.”5 Midland Asphalt Corp. v. United States, 489 U.S. 794, 801 (1982). These limited

categories include constitutional or statutory immunities 6 (such as double jeopardy),7 motions to

compel arbitration,8 and certain First Amendment rights.9 The Supreme Court has consistently

rejected attempts to expand those categories and characterize other rights to prevail before trial

as rights “not to be tried.” See, e.g., Digit. Equip. Corp., 511 U.S. at 880 (order rescinding a

settlement agreement not appealable as a collateral order even though the appellant might be

forced to undergo a trial it otherwise would have avoided).

         Neither of the issues USAP seeks to appeal here establish a “right not to be tried” under

the collateral order doctrine:

         First, USAP’s argument that the FTC must use its administrative process in addition to

(or in lieu of) suing in federal court is, at best, in a category with forum selection appeals—

which the Supreme Court has held do not qualify as collateral orders. In Lauro Lines SRL v.

Chasser, the Supreme Court rejected collateral appeal of a defendant’s argument that, due to a

5 Courts also permit appeals under the collateral order doctrine in other contexts, such as “sealing and unsealing

orders,” see, e.g., June Med. Servs., LLC v. Phillips, 22 F. 4th 512, 519 (5th Cir. 2022), but USAP invokes none of
those contexts here, see Mot. 1-2.
6 Nixon, 457 U.S. at 742 (absolute immunity); Mitchell v. Forsyth, 472 U.S. 511, 525-27 (1985) (qualified

immunity); P. R. Aqueduct & Sewer Auth. v. Metcalf and Eddy, Inc., 506 U.S. 139, 147 (1993) (Eleventh
Amendment immunity).
7 Abney v. United States, 431 U.S. 651, 661-62 (1977) (double jeopardy).

8 Coinbase, Inc. v. Bielski, 599 U.S. 736, 740 (2023) (motion to compel arbitration).

9 In re Sealed Case, 77 F.4th 815, 825-26 (D.C. Cir. 2023) (First Amendment challenges to nondisclosure order).




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contractual forum selection clause, it could be tried only before an Italian tribunal and not in U.S.

courts. 490 U.S. 495, 495-96, 500-01 (1989). As the Court explained, “an entitlement to be sued

only in a particular forum” is “different in kind” than “a right not to be sued at all.” Id. at 501.

Consistent with this reasoning, several courts of appeal, including the Fifth Circuit, have held

that the denial of a motion to remand to state court “cannot be appealed unless certified by the

district court” under 28 U.S.C. § 1292(b). Poirrier v. Nicklos Drilling Co., 648 F.2d 1063, 1064-

65 (5th Cir. 1981); see also New Jersey, Dep’t of Treasury, Div. of Inv. v. Fuld, 604 F.3d 816,

822 (3d Cir. 2010) (rejecting collateral appeal of remand order and explaining that, after final

judgment “an appellate court can vacate the order denying remand with instructions to remand

the case to the New Jersey court”).

       Indeed, if anything, USAP’s argument for collateral appeal is weaker than in the forum-

selection context. In those cases, the would-be collateral appellants claim an entitlement to be

sued in a different forum. See Lauro Lines, 490 U.S. at 501. Here, USAP concedes that the FTC

can bring further proceedings in this forum as long as it also files a parallel administrative

proceeding. See USAP Mot. Dismiss 13, ECF No. 97 (recognizing that “Section 13(b) lets the

FTC seek injunctive relief in federal court to aid its administrative proceedings”).

       Second, USAP’s constitutional argument does not fit into any of the limited categories of

“rights not to be tried.” The Supreme Court has cautioned that not “every violation of

[Constitutional] protections” amounts to “a defect so fundamental” that it warrants collateral

order appeal. Midland Asphalt, 489 U.S. at 802. In Midland Asphalt, for example, the Court

rejected a collateral appeal relating to violation of grand jury secrecy rules—which could have

required dismissing the indictment—because there is “a crucial distinction between a right not be

tried and a right whose remedy requires the dismissal of charges.” 489 U.S. at 801 (internal




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quotations omitted). See also, e.g., Flanagan v. United States, 465 U.S. 259, 266-67 (1984)

(rejecting collateral appeal even where Sixth Amendment rights were arguably imperiled).

       USAP erroneously relies on Axon Enterprises, Inc. v. FTC, 598 U.S. 175, 191 (2023), to

argue that its removal challenge fits into the limited category of immediately appealable

collateral orders. But Axon was not a collateral order case, and it addressed a narrow issue not

present here. The Axon Court held that a party sued in the FTC’s own administrative court may

immediately sue in federal district court to challenge the constitutionality of the administrative

proceeding—without waiting for the end of that proceeding. 598 U.S. at 191. The injury

recognized in Axon was “subjection to an unconstitutionally structured [agency] decisionmaking

process” without review by a federal court. Id. at 192. Here, USAP’s constitutional challenge has

already been heard—and rejected—by this federal Court. USAP may not like the result, but that

does not turn this case into “an illegitimate proceeding” or this Court into “an illegitimate

decisionmaker.” See Mot. 2 (quoting Axon, 598 U.S. at 191).

       Moreover, the Axon Court expressly disavowed any broader applicability of its decision

to the collateral order doctrine: “Nothing we say today portends newfound enthusiasm for

interlocutory review.” 598 U.S. at 191. Yet, USAP’s view that Axon authorizes an immediate

collateral appeal of any argument that a federal agency is unconstitutional or has acted

unconstitutionally would expand interlocutory review beyond recognition. Any defendant subject

to a civil or criminal government lawsuit could raise a constitutional challenge—no matter how

weak—and claim an immediate right to appeal and stay the district court case. Cf. Wilson v.

Suffolk Cnty. Dist. Att’y, No. 21-CV-04815(EK)(ST), 2024 WL 862236, at *1 (E.D.N.Y. Feb.

27, 2024) (plaintiff asserted “that the Department of Justice is unconstitutional, and that the only

constitutional federal law enforcement agency is ‘the Militia’”). This expansive interpretation




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would “swallow the general rule that a party is entitled to a single appeal.” Mohawk, 558 U.S. at

106.

II.     Even if USAP’s appeal were proper, it would not prevent this case from continuing
        in the district court

        Even if USAP could appeal under the collateral order doctrine, an interlocutory appeal

“only divests the district court of jurisdiction over those aspects of the case on appeal.” See Alice

L. v. Dusek, 492 F.3d 563, 564 (5th Cir. 2007) (per curiam). “This does not mean that all

proceedings in the district court come to an abrupt stop.” Davis v. Matagorda Cnty., No. 3:18-cv-

00188, 2019 WL 1924532, at *1 (S.D. Tex. Apr. 30, 2019). Instead, the district court “may still

proceed with matters not involved in the appeal.” Dusek, 492 F.3d at 564-65. This is a functional

inquiry that turns on whether this Court retaining jurisdiction would “frustrate [the appellate

court’s] ability to provide meaningful relief.” In re Fort Worth Chamber of Com., 100 F.4th 528,

536 (5th Cir. 2024).

        In the context of collateral orders, district courts often proceed with discovery while the

appeal is pending. See, e.g., Dusek, 492 F.3d at 565 (ordering that discovery proceed on one set

of claims while defendant collaterally appealed a qualified immunity decision on other claims);

Davis, 2019 WL 1924532, at *2 (explaining that “examples abound” of courts proceeding with

discovery even during collateral appeals seeking qualified immunity). This makes good sense. A

collateral order is, by definition, separate from the merits, and there is thus “no reason . . . to treat

the appeal as transferring the entire case to the court of appeals.” 15A Wright & Miller, Fed.

Prac. & Proc. § 3911 (3d ed.).

        Here, USAP’s attempt to appeal covers only narrow issues that do not conflict with

further proceedings in this Court.

        First, contrary to USAP’s contention, “the entire case” is not “essentially involved in the

appeal.” Mot. 2 (quote omitted). As explained above, unlike the cases on which USAP relies,


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USAP’s claim does not involve a “right not to be tried” within the meaning of the collateral

order doctrine. Cf. In re Fort Worth, 100 F.4th at 536. For example, Coinbase, Inc. v. Bielski

concerned the denial of a motion to compel arbitration. 599 U.S. 736, 740 (2023). So, too, did

Harrington v. Cracker Barrel Old Country Store Inc., No. 2:21-cv-940, 2024 WL 342440, at

*12-13 & n.16 (D. Ariz. Jan. 30, 2024). And United States v. Trump involved an appeal based on

presidential immunity. No. 1:23-cr-257, 2023 WL 8615775, at *1 (D.D.C. Dec. 13, 2023). Axon

underscores this distinction. Even though the Supreme Court allowed an immediate federal court

challenge to the constitutionality of the FTC’s administrative proceedings, such challenges do

not trigger any type of automatic stay of the administrative action. To the contrary, the

challenger must separately ask the district court to halt the administrative action. See, e.g., Space

Expl. Techs. Corp. v. Bell, No. 1:23-cv-00137, 2023 WL 8885128, at *6 (S.D. Tex. Nov. 8,

2023) (declining to enjoin agency proceeding based on constitutional removal challenge).

         Second, continued proceedings in this Court would not frustrate the available relief for

USAP’s statutory argument. This argument merely asserts a right to be sued twice—in district

court and in FTC administrative proceedings. See USAP Reply Supp. Mot. Dismiss 2, ECF No.

126 (claiming that FTC can sue in district court “contingent upon the pendency of administrative

proceedings within the agency”). Accordingly, were USAP to succeed on appeal, the appropriate

relief would be requiring the FTC to initiate an additional administrative proceeding.10

Continuing discovery on the underlying merits in the meantime would not frustrate this relief.

         Third, continued proceedings in this Court would not frustrate the available relief for

USAP’s removal restrictions challenge. USAP has not even attempted to show that the FTC



10 If the Court of Appeals were to determine that the FTC must bring a parallel administrative proceeding within a

certain time period after filing the federal court action, then this Court should grant it leave to re-file this case along
with an administrative proceeding. Given the uniform law at the time the FTC filed suit—confirmed in dicta by the
Supreme Court—that a parallel proceeding is not required (see Part I.A, above), it would be unfair to dismiss the
FTC’s suit with prejudice on the basis of a procedural deficiency that could be easily corrected.



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Commissioners’ removal restrictions affected this case.11 Thus, as the FTC explained in

opposing Welsh Carson’s motion to dismiss, even if the removal restrictions were

unconstitutional, the appropriate remedy would be to sever those provisions from the statute, not

dismiss this case. 12 See FTC Opp. Welsh Carson Mot. Dismiss 32-33, ECF No. 120. Another

court in this District recently reached a similar conclusion, holding that “there is no need to stay

proceedings” that are allegedly tainted by unconstitutional removal restrictions because “the

Court can sever” those provisions. See Bell, 2023 WL 8885128, at *5.

                                                CONCLUSION

         For the foregoing reasons, this Court should deny USAP’s motion for a stay.




11 To get relief that affected this case, USAP would need to show that the removal restrictions “caused (or would
cause) them harm.” See Collins v. Dep’t of Treasury, 83 F.4th 970, 982 (5th Cir. 2023) (internal quotations omitted).
Specifically, USAP would need to show that the President wanted to remove a Commissioner but thought he could
not do so because of the removal protections, and that his removal of that Commissioner would have led to a
different outcome for USAP. Id. USAP (through Welsh Carson) never asserted any of this and has thus forfeited any
claim to dismissal on appeal. See Rollins v. Home Depot USA, 8 F.4th 393, 397 & n.1 (5th Cir. 2021); see also FTC
Opp. Welsh Carson Mot. Dismiss 31-32, ECF No. 120 (explaining that Welsh Carson had failed to claim any harm
from the removal restrictions); Welsh Carson Reply 19-20, ECF No. 124 (failing to discuss harm).
12 USAP (through Welsh Carson) has also failed to discuss severability before this Court and has thus forfeited any

argument on appeal that it is not the appropriate remedy. See Welsh Carson Reply 19-20, ECF No. 124.



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Dated: July 5, 2024                       Respectfully submitted,

                                          /s/ Timothy Kamal-Grayson
                                          Timothy Kamal-Grayson (Pro Hac Vice)
                                          Bradley S. Albert (Pro Hac Vice)
                                          Daniel W. Butrymowicz (Pro Hac Vice)
                                          Dylan Herts (Pro Hac Vice)
                                          Patrick Kennedy (Pro Hac Vice)


                                          600 Pennsylvania Avenue, N.W.
                                          Washington, D.C. 20580
                                          Tel: (202) 326-3369
                                          Email: tkamalgrayson@ftc.gov

                                          Counsel for Plaintiff Federal Trade
                                          Commission




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the Plaintiff Federal Trade Commission’s

Opposition to USAP’s Motion for Stay Pending Interlocutory Appeal and accompanying

appendices to be served on all counsel of record using the ECF system of the United States

District Court for the Southern District of Texas.



Dated: July 5, 2024

                                                     /s/ Timothy Kamal-Grayson
                                                     Timothy Kamal-Grayson (Pro Hac Vice)

                                                     600 Pennsylvania Avenue, N.W.
                                                     Washington, D.C. 20580
                                                     Tel: (202) 326-3369
                                                     Email: tkamalgrayson@ftc.gov

                                                     Counsel for Plaintiff Federal Trade
                                                     Commission




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